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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                           )
                                                          )
 9                           Plaintiff,                   )
                                                          )
10            v.                                          )          2:10-CR-361-LDG (RJJ)
                                                          )
11    OSCAR NOE SANCHEZ-LARIOS and                        )
      ROLANDO HERNANDEZ,                                  )
12                                                        )
                             Defendants.                  )
13

14                            AMENDED FINAL ORDER OF FORFEITURE

15            On October 8, 2010, the United States District Court for the District of Nevada entered a

16    Preliminary Order of Forfeiture as to OSCAR NOE SANCHEZ-LARIOS pursuant to Fed. R. Crim.

17    P. 32.2(b)(1) and (2); Title 18, United States Code, Section and 924(d)(1), (2)(C), and (3)(B) and Title

18    28, United States Code, Section 2461(c); Title 21, United States Code, Section 881(a)(11) and Title

19    28, United States Code, Section 2461(c); and Title 21, United States Code, Sections 853(a)(1) and

20    (a)(2), based upon the plea of guilty by defendant OSCAR NOE SANCHEZ-LARIOS to a criminal

21    offense, forfeiting specific property alleged in the Criminal Indictment and in the Bill of Particulars

22    and agreed to in the Plea Memorandum and shown by the United States to have the requisite nexus

23    to the offense to which defendant OSCAR NOE SANCHEZ-LARIOS pled guilty. Docket #25, #68,

24    #73, #74, #75.

25            On September 28, 2010, the United States District Court for the District of Nevada entered

26    an Amended Preliminary Order of Forfeiture as to ROLANDO HERNANDEZ pursuant to Fed. R.
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 1    Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section and 924(d)(1) and Title 28, United

 2    States Code, Section 2461(c); Title 21, United States Code, Section 881(a)(11) and Title 28, United

 3    States Code, Section 2461(c); and Title 21, United States Code, Sections 853(a)(1) and (a)(2), based

 4    upon the plea of guilty by defendant ROLANDO HERNANDEZ to a criminal offense, forfeiting

 5    specific property alleged in the Criminal Indictment and in the Bill of Particulars and agreed to in the

 6    Amended Plea Memorandum and shown by the United States to have the requisite nexus to the

 7    offense to which defendant ROLANDO HERNANDEZ pled guilty. #25, #68, #69, #70, #71.

 8             On February 24, 2011, the United States District Court for the District of Nevada entered a

 9    Final Order of Forfeiture as to Defendant OSCAR NOE SANCHEZ-LARIOS pursuant to Fed. R.

10    Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section 924(d)(1), (2)(C) and (3)(B) and

11    Title 28, United States Code, Section 2461(c); Title 21, United States Code, Section 881(a)(11) and

12    Title 28, United States Code, Section 2461(c); and Title 21, United States Code, Sections 853(a)(1)

13    and (a)(2), forfeiting property of the defendant OSCAR NOE SANCHEZ-LARIOS to the United

14    States. #25, #68, #73, #74, #75, #108.

15             On April 25, 2011, the United States District Court for the District of Nevada entered a Final

16    Order of Forfeiture as to Defendant ROLANDO HERNANDEZ pursuant to Fed. R. Crim. P.

17    32.2(b)(1) and (2); Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code,

18    Section 2461(c); Title 21, United States Code, Section 881(a)(11) and Title 28, United States Code,

19    Section 2461(c); and Title 21, United States Code, Sections 853(a)(1) and (a)(2), forfeiting property

20    of the defendant ROLANDO HERNANDEZ to the United States. #25, #68, #69, #70, #71, #129.

21             This Court finds the United States of America published the notice of the forfeiture as to

22    Defendant ROLANDO HERNANDEZ in accordance with the law via the official government internet

23    forfeiture site, www.forfeiture.gov, consecutively from October 5, 2010, through November 3, 2010,

24    further, notifying all third parties of their right to petition the Court. #89.

25             This Court finds the United States of America published the notice of the forfeiture as to

26    Defendant OSCAR NOE SANCHEZ-LARIOS in accordance with the law via the official government




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 1    internet forfeiture site, www.forfeiture.gov, consecutively from August 7, 2011, through September

 2    5, 2011, further, notifying all third parties of their right to petition the Court. #142.

 3             On May 12, 2011, MARTIN ANGELES-GARCIA was served by regular and by certified

 4    mail return receipt requested and on June 14, 2011, MARTIN ANGELES-GARCIA was personally

 5    served with a copy of the Preliminary Order of Forfeiture as to Defendant OSCAR NOE SANCHEZ-

 6    LARIOS, the Amended Preliminary Order of Forfeiture as to the Defendant ROLANDO

 7    HERNANDEZ, Notice, and the Petition, Stipulation for Return of Property and Order. #138.

 8             On July 21, 2011, the Petition, Stipulation for Return of Property and Order was filed. #140.

 9    On July 26, 2011, the Court entered the Order granting the Petition, Stipulation for Return of Property.

10    #141.

11             This Court finds no other petitions were filed herein by or on behalf of any person or entity

12    and the time for filing such petitions and claims has expired.

13             This Court finds no petitions are pending with regard to the assets named herein and the time

14    for presenting such petitions has expired.

15             THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

16    title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

17    United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

18    32.2(c)(2); Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section

19    2461(c); Title 21, United States Code, Section 881(a)(11) and Title 28, United States Code, Section

20    2461(c); Title 21, United States Code, Sections 853(a)(1) and 853(a)(2); and Title 21, United States

21    Code, Section 853(n)(7) and shall be disposed of according to law:

22                    a)      $3,269.32 in United States Currency seized from Wells Fargo Bank Expanded

23                            Business Services Account Number 5129131933, in the name of C.R.E.C.

24                            Investments, LLC, located at 3300 W. Sahara Ave., Las Vegas, NV 89102;

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 1                   b)      $58,513.96 in United States Currency seized from Wells Fargo Bank Business
 2                           High Yield Savings Account Number 1253406126 in the name of C.R.E.C.
 3                           Investments and Diocelina Pantoja-Cruz, LLC, located at 3300 W. Sahara
 4                           Ave., Las Vegas, NV 89102;
 5                   c)      $4,541.00 in United States Currency seized from Rolando Hernandez;
 6                   d)      a Smith and Wesson M&P 15 .227 caliber assault rifle, serial number 31252;
 7                   e)      a Ruger Model P95, .9mm handgun and magazine, serial number 316-52236;
 8                   f)      a Berreta .32 ACP caliber auto handgun and two loaded magazines, serial
 9                           number DAA397172;
10                   g)      an Echasa-Eibar .22 caliber handgun and magazine, serial number 63817;
11                   h)      a Gold-Plated Desert Eagle .41/.44 Magnum caliber handgun with loaded
12                           magazine, serial number 55592; and
13                   i)      any and all ammunition.
14            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited
15    funds, including but not limited to, currency, currency equivalents, certificates of deposit, as well as
16    any income derived as a result of the United States of America’s management of any property forfeited
17    herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.
18            The Clerk is hereby directed to send copies of this Order to all counsel of record and three
19    certified copies to the United States Attorney’s Office.
20            DATED this _________ day of _______________, 2011.
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                                                     UNITED STATES DISTRICT JUDGE
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